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                        UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF PUERTO RICO

UNITED STATES OF AMERICA

       Plaintiff

                   v.
                                                 Criminal No. 13-00130-001 (JAG)
MIGUEL A CANALES-VILLALONGO

       Defendant


                            MOTION IN COMPLIANCE

TO THE HONORABLE JAY A. GARCIA-GREGORY,
UNITED STATES DISTRICT JUDGE
FOR THE DISTRICT OF PUERTO RICO

       COMES NOW, DENI RODRIGUEZ, U.S. PROBATION OFFICER OF THIS

HONORABLE COURT, and respectfully submits as follows:

       On   September     29,     2015,    the    defendant     Miguel    Canales-

Villalongo was sentenced to 97 months of imprisonment as to Count

One,    which   charged     him     with   violating      21    U.S.C.    §§   846,

841(b)(1)(B)    and     860:    Conspiracy       to   possess   with     intent   to

distribute at least 2 but less than 3.5 kilograms of cocaine within

a protected location; and 60 months of imprisonment, to be served

consecutively, as to Count Five which charged him with violating

18 U.S.C. 924(c)(1)(A); Possession of a firearm in furtherance of

a drug trafficking crime.           His total sentence was 157 months of

imprisonment followed by 8 years of supervised release.                           Mr.

Canales is serving his sentence at FCI Allenwood Low in Allenwood,
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PA.   His projected date for release from confinement is August 31,

2025.

      On June 2, 2020, Mr. Canales filed a Motion for Compassionate

Release from Custody and Home Confinement placement at docket

number 1291.     He claimed that he suffers from diabetes, asthma and

sinus allergies; conditions that put his life at risk if he

contracts COVID-19.             He also indicated that the Warden at FCI

Allenwood denied his petition for compassionate release.

      Mr. Canales cited the effects of the COVID-19 Pandemic on the

federal inmate population, specifically at FCI Allenwood and based

on    the   totality       of    the   circumstances   placing   him   in   home

confinement was a reasonable remedy for the Court.

      Mr. Canales submitted in his motion for consideration of

compassionate release that the Warden at FCI Allenwood denied his

request     after      a        comprehensive   review    of     Mr.   Canales’

circumstances.      Mr. Canales submitted a portion of the Warden’s

conclusion that Mr. Canales was not eligible for home confinement

placement because the violent nature of his offense of conviction

and his prior violent offenses convictions.

      As verified by the BOP Inmate Profile Database(SENTRY), at

FCI Allenwood, to this date, Mr. Canales has not formally requested

consideration for compassionate release to the BOP. Furthermore,

he has not filed any administrative remedy request.


                                          [2]
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       Mr. Canales has not exhausted his administrative requirements

under 18 U.S.C.§ 3582(c)(1)(A).        Nevertheless, he argued that the

Court may ignore the exhaustion requirement considering the crisis

presented by the coronavirus pandemic.

       While   judicially    created     exhaustion     requirements       may

sometimes be excused, it is settled that a court may not ignore a

statutory command such as that presented in § 3582(c)(1)(A).

McCarthy v. Madigan, 503 U.S. 140, 144 (1992) and Ross v. Blake,

136 S. Ct. 1850 (2016)

       In view of these circumstances, it is the probation officers

position that the Court should deny the Motion for Compassionate

Release without prejudice because Mr. Canales has not exhausted

administrative remedies.      The Court lacks authority to act on Mr.

Canales’ motion for a sentence reduction at this time.             Pursuant

to 18 U.S.C. § 3582(c), a request for a sentence reduction must be

presented first to BOP for its consideration; only after 30 days

have passed, or the defendant has exhausted all administrative

rights to appeal the BOP’s failure to move on the defendant’s

behalf, may a defendant move for a sentence reduction in Court.

That   restriction   is   mandatory,   and   it   continues   to   serve   an

important function during the present crisis.

       WHEREFORE, in view of these circumstances, the undersigned

U.S. Probation Officer respectfully submits that Mr. Canales’

Motion for Compassionate Release is not warranted at this time.
                               [3]
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     I HEREBY CERTIFY that on June 11, 2020, I electronically filed

the foregoing motion with the Clerk of the Court using the CM/ECF

system   which   will   send    notification   of   such   filing   to   the

corresponding parties and to the defendant by mail.

     In San Juan, Puerto Rico, June 15, 2020.

                               Respectfully submitted,

                               LUIS O. ENCARNACION CANALES, CHIEF
                               U.S. PROBATION OFFICER


                               s/ Deni Rodriguez
                               Deni Rodriguez
                               U.S. Probation Officer
                               U.S. Federal Bldg. & Courthouse
                               150 Carlos Chardón Ave., Ste. 400
                               San Juan, P.R. 00918-1741
                               Tel. 787-281-1595
                               deni_rodriguez@prp.uscourts.gov

Reviewed and approved:

s//Victor Carlo-Chevere


Víctor Carlo, Supervisory
U.S. Probation Officer




                                     [4]
